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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------··----··-·-·-·······-~--------· X
KEVIN MOORE,                                                        16 Civ. 4773 (KMK)
                                            Plaintiff,              STIPULATION OF SETTLEMENT
                                                                    AND PARTIAL ORDER OF
            - against -                                             DISMISSAL
ANTHONY J, ANNUCCI, et al.,

                                             Defendants .
••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••• X

         This SETTLEMENT STIPULATION AND PARTIAL ORDER OF DISMISSAL is

made by and between Plaintiff Kevin Moore ("Plaintiff") and Defendant Donald Cosman

("Settling Defendant"), and specifically excludes, and does not resolve, any claims asserted

against Defendants Kathy Todd-Scott, George Santiago, Carson Mol1'is, Andrew Lowe.-y, or

Susan Langfol'd in this action; and

         WHEREAS, Plaintiff commenced this action ("the Action"), by filing a complaint on or

about June 21, 2016 against Defendants, followed by the filing of an amended complaint on          01·


about November 9, 2016 (the "Amended Complaint"), alleging that Defendants had violated

Plaintifrs rights under 42 U.S.C. §1983 during Plaintifrs incarceration in the New York State

Department of Corrections and Community Supervision ('tDOCCS") system; and

         WHEREAS, Plaintiff and Settling Defendant wish to fully resolve the claims alleged in

the Amended Complaint in the Action and have negotiated in good faith for that purpose; and

         WHEREAS, none of the pa11ies to the Action is an infant or incompetent.person; and

         WHEREAS, Plaintiff represents and warrants that, other than this Action, he has no

action or proceeding pending in any court, state or federal, arising out of or relating to the subject

matter of this lawsuit;
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       NOW      THEREFORE,       in   consideration   of the        mutual   promises,   covenants,

representations, and other consideration contained in the General Release previously tendered by

Plaintiff to Settling Defendant, the sufficiency of which is hereby acknowledged, and the

payment of the settlement sum set forth in the General Release by Settling Defendant in full

satisfaction of its obligations, this Action and all claims asserted herein against Defendant

Donald Cosman are discontinued with prejudice pursuant to Fed. R. Civ. P. 4l(a)(l)(A)(ii).

       This Settlement Stipulation may be executed in any number of counterparts, all of which

taken together shall constitute one Settlement Stipulation, and may be executed by facsimile

and/or electronic signature.

Dated: New York, New York
       August 28, 2018

                                                 LAW OFFICES OF MARK SHERMAN
                                                  A*~osmon

    1p M. Hines, Esq.                             Mark Sherman, Esq.
   4 Ralph A venue                                29 Fifth Street
Brooklyn, New York 11234                          Stamford, Connecticut 06905
(718) 531-9700                                    Tel: (203) 358-4700


SO ORDERED:
